D. G. YUENGLING &amp; SON, INC., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENTD. G. Yuengling &amp; Son, Inc. v. CommissionerDocket No. 16277.United States Board of Tax Appeals20 B.T.A. 903; 1930 BTA LEXIS 2012; September 19, 1930, Promulgated *2012  Assessment and collection of additional taxes for the fiscal year ended April 30, 1919, are not barred by the statute of limitations.  Arthur Carnduff, Esq., for the respondent.  ARUNDELL*903  Respondent determined a deficiency in income and profits taxes for the fiscal year ended April 30, 1919, in the amount of $14,907.59.  Numerous errors were alleged in the petition, but in petitioner's brief all were withdrawn save that of the statute of limitations.  The facts were stipulated.  In addition to the facts necessary to decide the limitations question, the parties further stipulated that unless assessment and collection are barred there is a deficiency against the petitioner in the amount of $8,645.08, and that there are no deficiencies in income and profits taxes due from or overpayments in taxes due to the Yuengling Realty Co. or Pottsville Feed Co., which appear to be corporations affiliated with the petitioner.  FINDINGS OF FACT.  The petitioner and its affiliated corporations are Pennsylvania corporations with offices at Pottsville.  Petitioner's income-tax return for the fiscal year ended April 30, 1919, was filed on or about July 15, 1919. *2013  On or about December 31, 1924, a waiver of the statute of limitations for the fiscal year ended April 30, 1919, was executed by petitioner, the Yuengling Realty Co. and Pottsville Feed Co., consenting to the determination, assessment and collection of taxes at any time within one year from July 15, 1924.  This waiver was filed with the respondent on or about December 31, 1924, and was signed by him.  On or about April 11, 1925, petitioner executed a waiver extending until December 31, 1925, the period for assessment of taxes for the fiscal years ended April 30, 1919, and 1920, with a provision that in the event that a deficiency notice was sent and no appeal filed, *904  then the period was to be extended sixty days, or if an appeal was filed, the period then to be extended by the numbers of days between the date of mailing said notice and the date of final decision by the Board.  This waiver was filed with the respondent on or about April 15, 1925, and was signed by him.  On or about October 1, 1925, petitioner and its affiliated corporations executed a waiver extending until December 31, 1926, the period for assessment of taxes for the fiscal years ended April 30, 1919, 1920, *2014  and 1921, with provisions similar to those contained in the preceding waiver in regard to deficiency notices and appeal to the Board.  This waiver was filed with the respondent on or about October 3, 1925, and was signed by him.  The deficiency notice herein was mailed by the respondent on or about March 26, 1926.  OPINION.  ARUNDELL: The only question for decision herein is whether the statute of limitations has run against assessment and collection of the deficiency determined by the respondent for the fiscal year ended April 30, 1919.  The petitioner's return having been filed on or about July 15, 1919, the statute of limitations, unless waived, would have run on or about July 15, 1924.  The first waiver given by petitioner was dated December 31, 1924, and petitioner contends that inasmuch as no agreement was entered into before that date, assessment and collection are barred.  We have heretofore held in several cases that waivers executed after the statutory period has run, and before the enactment of the Revenue Act of 1926, are valid to extend the period for assessment and collection.  *2015 , and . Before the waiver of December 31, 1924, expired a second waiver dated April 11, 1925, was executed extending the period to December 31, 1925, and before that date, to wit, on October 3, 1925, a third waiver was given extending the period until December 31, 1926.  Before the expiration of the last waiver the respondent's deficiency notice was mailed and was therefore timely.  Decision will be entered determining a deficiency in the amount of $8,645.08 for the fiscal year ended April 30, 1919.